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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


ASTRAZENECA PHARMACEUTICALS LP and
ASTRAZENECA AB,
                      Plaintiffs,

       v.

XAVIER BECERRA, in his official capacity as
Secretary of the U.S. Department of Health and         Case No. 1:23-cv-00931-CFC
Human Services, CHIQUITA BROOKS-LASURE,
in her official capacity as Administrator of the
Centers for Medicare & Medicaid Services, and
AARP,
                               Defendants.




     BRIEF OF ECONOMISTS AND SCHOLARS OF HEALTH POLICY AS
    AMICI CURIAE IN SUPPORT OF DEFENDANTS’ CROSS-MOTION FOR
                       SUMMARY JUDGMENT




            CHRISTINE M. MACKINTOSH (#5085)        DEEPAK GUPTA
            GRANT & EISENHOFER P.A.                GUPTA WESSLER LLP
            123 Justison Street                    2001 K Street, NW
            7th Floor                              Suite 850 North
            Wilmington, DE 19801                   Washington, DC 20006
            (302) 622-7081                         (202) 888-1741
            cmackintosh@gelaw.com                  deepak@guptawessler.com



            November 8, 2023                       Counsel for Amici Curiae
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                INTRODUCTION AND INTEREST OF AMICI CURIAE1

       This case concerns the constitutionality of the Inflation Reduction Act’s drug-pricing

provisions. Amici are economists and health policy scholars who focus their work on healthcare

markets and pharmaceutical drug pricing. Because they are not lawyers, they do not directly

address the parties’ competing constitutional arguments. Instead, they submit this brief to provide

the Court with the background necessary to understand the context in which those arguments

arise—context concerning the economics of the Medicare market; the relationship between

intellectual property rights, drug prices, and innovation; and the Inflation Reduction Act’s role in

correcting for market failure and restoring bargaining equity. Amici are:

       Richard G. Frank
       Margaret T. Morris Professor of Health Economics Emeritus,
       Harvard Medical School;
       Leonard D. Schaeffer Chair in Economic Studies,
       The Brookings Institution

       Fiona M. Scott Morton
       Theodore Nierenberg Professor of Economics,
       Yale School of Management

       Aaron S. Kesselheim
       Professor of Medicine,
       Brigham and Women’s Hospital/Harvard Medical School

       Gerard F. Anderson
       Professor of Health Policy & Management,
       Johns Hopkins University Bloomberg School Public Health;
       Professor of Medicine,
       Johns Hopkins University School of Medicine

       Rena M. Conti
       Associated Professor,
       Questrom Business School, Boston University



       1 No party opposes the filing of this brief. No party or counsel for a party—nor any person

other than amici and their counsel—authored this brief in whole or in part or contributed any
money intended to fund its preparation or submission.
                                                 1
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       David M. Cutler
       Otto Eckstein Professor of Applied Economics
       Harvard University

       Jack Hoadley
       Research Professor Emeritus,
       Health Policy Institute, McCourt School of Public Policy, Georgetown University

       AstraZeneca’s motion for summary judgment asserts (at 28–29) that the Inflation Reduction

Act’s Negotiation Program caps prices “below actual . . . market value” and results in

“fundamentally unfair” outcomes. This brief shows how AstraZeneca’s contention reflects an

overly simplistic and misleading account of the prescription-drug market.

       The market for prescription drugs does not function like other markets. In the bread

market, for example, there are no laws that prevent direct competition among sellers to skew prices

and demand. Consumers can decide which bread they prefer to purchase, based on taste,

ingredients, price, and other characteristics, and which bakery to buy from. A bakery must set its

prices to satisfy consumers and meet its competition. In the drug market, however, the relationship

between sellers and consumers is not as unfettered. To provide a period of guaranteed revenue

that recoups investment in drug development, the government provides drug companies with

patents and several years of exclusivity—making a particular drug the only available product of

that specific formulation for at least 5 years, and for 12–14 years on average. During that time, drug

companies use their market power to set prices well above the costs of production and distribution.

Far from reflecting the “true value” of the drug, the prices set during these periods reflect the

market exclusivity under which drug manufacturers operate.2 This forces payors like Medicare to

pay exorbitant prices for brand-name drugs without generic alternatives.




       2 David H. Howard, Rena M. Conti et al., Pricing in the Market for Anticancer Drugs, 29 J.

Econ. Perspectives 139 (2015).
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        The Inflation Reduction Act takes several steps to correct course. It gives Medicare the

authority to negotiate prices for drugs that have been on the market for at least 9–13 years. By doing

so, it provides consumers with enough bargaining power to counter the pharmaceutical monopolist

in establishing a price. The harm to true innovation is negligible because any drug eligible for

negotiation will almost certainly have already recouped its investment many times over. This brief

explains how, contrary to AstraZeneca’s contention, the Inflation Reduction Act pushes the drug

market’s dynamics closer to competitive equilibrium, not further away.

                                              ARGUMENT

 I.   Tensions between incentives for innovation and consumer protection
      frame the mechanics of the prescription drug market.

      A.    The development of prescription drugs is costly and offset by
            government subsidies.

      Research-and-development costs for new prescription drugs are high,3 because the process

to develop a prescription drug is long, and clinical trials are expensive. Research and development

usually consists of early-stage basic science and preclinical proof-of-principle animal testing; clinical

trials in humans (Phase 1); efficacy testing (Phases 2 & 3); and submission for FDA approval.4 Early

phases have high failure rates. Once a drug is submitted for approval, the chance that it will become

a marketable product is greater than 50%.5

      Although most new drugs are brought to the market by private companies, the federal

government underwrites a substantial amount of cost, risk, and uncertainty. This mostly includes



        3 Richard G. Frank & Caitlin Rowley, Much money to be made from developing drugs that will have

negotiated prices, Bloomberg (Sept. 5, 2023).
         4 Michael Hay et al., Clinical development success rates for investigational drugs, 32 Nature Biotech.

1, 40-51 (2014); Chi Heem Wong et al., Estimation of clinical trial success rates and related parameters, 20
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         5 Smietana, Trends in clinical success rates, at 379-80.


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the cost of basic science and animal modeling but can also include proof-of-concept testing and, in

rare cases, later stage human clinical trials. The government invests in drug research primarily

through the National Institutes of Health. Reviews show that every single drug approved by the

FDA from 2010–2016 linked back to NIH-funded research and that 99.4% of drugs approved from

2010–2019 received NIH funding at some point in development. 6 In contrast to private

pharmaceutical companies, the federal government generally receives very limited royalties or

financial return on these investments.7 The federal government also assures that brand drugs are

safe, effective, and accurately labeled.8

      Once a drug receives FDA approval, the industry’s priority is to maximize profits. The U.S.

government aids this effort by providing manufacturers with two types of market exclusivity for

new drugs which could otherwise be easily duplicated: patents and exclusivity periods. These

measures block direct competition for a period determined by Congress to balance profit for the

innovator and access for the people.9 First, the government grants drug patents to manufacturers.

Patents last about 20 years from the date of application. A drug’s primary patent is on the

underlying active ingredient and is usually obtained well before FDA approval, around the time of

drug discovery. But manufacturers can, and do, obtain numerous additional patents on other

formulations, uses, and manufacturing methods for an already successful drug. This process can


        6 Ekaterina G. Cleary et al., Contribution of NIH funding to new drug approvals 2010-2016, 115

Proc. Nat’l Acad. Scis. USA 10, 2329-34 (2018); Ekaterina G. Cleary et al., Comparison of Research
Spending on New Drug Approvals by the National Institutes of Health vs. the Pharmaceutical Industry, 2010–
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        7 U.S. Gov’t Accountability Off., GAO-21-52, Biomedical Research: NIH Should Public Report

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        8 Jeremy A. Green & Scott H. Podolsky, Reform, Regulation, and Pharmaceuticals—The

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        9 Richard G. Frank & Paul B. Ginsburg, Pharmaceutical industry profits and research and

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create a thicket of dozens or even hundreds of patents that block generic entry for many years after

the initial patent expires.

      Other federal statutes provide guaranteed minimum periods of exclusivity by preventing the

FDA from approving competing products for a minimum number of years after regulatory

approval. Small-molecule drugs, those derived from chemical processes, are protected for at least

5 years; drugs for rare diseases are protected for 7 years; and biologic drugs, those derived from

living organisms, are protected for 12 years.10 During this time, generic versions of a drug cannot

be sold, and any profits from use are earned exclusively by the developer.11 Large companies use

various tactics to extend exclusivity periods past the expiration of initial patents—including settling

patent challenges by generic firms, delaying patent filing, refusing to provide samples to generic

firms, filing pretextual “citizen petitions” against competitors to delay market entry, and

evergreening, which occurs when companies patent existing drugs with slight modifications. 12

Many of these tactics have been pursued by the FTC and DOJ as anticompetitive violations of

antitrust laws, but the agencies have been unsuccessful in halting these methods entirely.13 As a

result, the exclusivity for new drugs can exceed what Congress intended and has been found to

extend anywhere from 7–35 years.14

      B.    The drug market is not structured like other free markets.

      Protecting innovation through exclusivity comes at the expense of traditional free-market


        10 Favour D. Makurvet, Biologics vs. small molecules: Drug costs & patient access, Med. Drug

Discovery, Nov. 23, 2020, at 1.
       11 Food & Drug Administration, Patents & Exclusivity, FDA/CDER SBIA Chronicles (May

19, 2015).
       12 Fiona M. Scott Morton & Lysle T. Boller, Enabling Competition in Pharmaceutical Markets 2

(Brookings Working Paper No. 30, May 2017); Roger Collier, Drug patents: the evergreening problem,
185 Can. Med. Ass’n J. 385 (2013).
       13 Morton & Boller, Enabling Competition in Pharmaceutical Markets, at 36.
       14 Benjamin Rome, Market exclusivity length for drugs with new generic of biosimilar competition,

2012-2018, 109 Clinical Pharmacology & Therapeutics 2, 367-71 (2021).
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principles. A free market is one in which prices and demand are set by decentralized buyers and

sellers making informed purchasing decisions. Unlike other markets in the United States—in which

sellers compete for sales without significant intervention—patents and other exclusivity periods

grant temporary monopolies to drug companies. Regulations dictate the terms of distribution and

discounts, and the market is further complicated by the presence of insurance coverage.

      In a well-functioning market, the price of a product needs to be set at a level that will

incentivize people to purchase it. Here, however, insurance coverage insulates consumers from

ever seeing the true price of a drug because they only pay a small percentage of the cost, eliminating

the drug companies’ catalyst to set reasonable prices. Absent a mechanism to reel back such

practices, like the Medicare negotiation program, companies can use unfettered market power to

hike drug prices far above those that would be palatable to consumers.15 While such temporary

subsidies may help drug companies recuperate their initial investment, they can hardly claim

they’re permanently entitled to those benefits.

     The end of the exclusivity period plays an important role in recalibrating the market and

promoting affordability. When a for-profit company markets a socially valuable patented drug, it

is given license to “charge higher than competitive prices” as the only available formulation.16

Once interchangeable products enter the market, competition naturally pushes prices down,

making the drug more accessible to consumers.17 This feature of the prescription-drug market has

always been valued by lawmakers, who passed the Hatch-Waxman Act in 1984 to create a

streamlined pathway for generic drugs to come to market when patents and exclusivity periods




       15 Richard G. Frank & Joseph P. Newhouse, Should Drug Prices Be Negotiated Under Part D of

Medicare? And If So, How?, 27 Health Affairs 2, 39 (2008).
       16 Morton & Boller, Enabling Competition in Pharmaceutical Markets, at 1.
       17 Id.


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lapse.18 As state laws encourage the use of lower cost generic drugs, spending on previously patent-

protected drugs can often fall by as much as 80% within 24 months.19 Insurance coverage, like that

offered by Medicare Part D, also plays a crucial role in protecting consumers from the growing

costs of prescription drugs and demand for pharmaceutical products. Health plans have

implemented tiered benefit structures to steer patients and physicians to use generic versions of

drugs when possible. 20 These policies reduce costs incurred by consumers, especially because

generic drugs are dispensed more than 90% of the time when they are available.21

      Imagine a hypothetical drug that is worth $100 to many consumers. Because Medicare

enrollees are insured—in part because of high drug prices—they pay only 20% of the cost of the

drug at the time the consumer buys it. If a consumer is willing to pay $100, the pharmaceutical

company will immediately realize that it can raise price up to $500 without losing customers. The

government notices this high price because it raises the cost of Medicare and limits funds that can

be used for other healthcare needs. After 10 years of this pricing model, the government uses its new

authority to bargain for lower prices (perhaps $300). AstraZeneca effectively claims that any price

below $500 violates “free-market principles,” and that the only acceptable outcome is for the

government to continue paying $500 forever. The economic absurdity of this claim is self-evident.




        18 Wendy        H. Schacht & John R. Thomas, Cong. Rsch. Serv., R41114, The Hatch-
Waxman Act: Over a Quarter Century Later (Mar. 13, 2012).
          19 Yan Song & Douglas Barthold, The effects of state-level pharmacist regulations on generic

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Med. 1, 16-22 (2021).
        20 Richard G. Frank, Prescription Drug Prices: Why Do Some Pay More Than Others Do?, 20

Health Affs. 2, 115-128 (2001).
          21 Cong. Budget Off., Prescription Drugs: Spending and Prices 2 (2022).


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      C.    Higher drug prices do not directly correlate with an increase in
            innovation.

      Drug prices aren’t the touchstone of innovation that pharmaceutical companies make them

out to be. Empirical studies show that, on average, an increase in the expected number of patients

and total revenue of a drug cause more investment and more product entry.22 Newer studies,

however, provide insight into exactly what kind of products are entering the market: These studies

find that much of the entry is not “innovation,” but rather replication or rebranding of existing

drugs. While the number of new drugs entering the market increased after the introduction of

Medicare Part D, the new drugs were almost entirely in areas with five or more existing therapies,

offering little by way of meaningful innovation.23 A review for FDA approvals from 2007–2017

revealed that only about one-third of the new drugs in that period had “high therapeutic value,”

or in other words, offered more than a minimal improvement over drugs or other treatments that

were already available.24 Companies also advertise low therapeutic value drugs widely, 25 and low

therapeutic value drugs accounted for $19.3 billion in Medicare spending in 2020, 55% of the total

amount spent on the top-50 selling drugs.26 Further, drug companies took existing drugs that were

viewed as insufficiently profitable before the creation of Medicare Part D and relaunched them as

the drug market grew, while the market overall showed little evidence of increases in patents or



        22 Pierre Dubois, Olivier de Mouzon, Fiona M. Scott Morton, et al., Market Size and

Pharmaceutical Innovation 11 (TSE Working Paper, March 2014); Wesley Yin, Market Incentives &
Pharmaceutical Innovation, 27 J. Health Econ. 4, 1060-77 (2008).
         23 David Dranove et al., Pharmaceutical Profits and the Social Value of Innovation 1, 10 (NBER

Working Paper No. 20212, 2014).
         24 Thomas J. Hwang, Aaron S. Kesselheim, et al., Association between FDA and EMA expedited

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         25 Neeraj G. Patel, Aaron S. Kesselheim, et al., Therapeutic value of drugs frequently marketed

using direct-to-consumer television advertising, 2015-2021, 6 JAMA Network Open 1, 1-3 (2023).
         26 Alexander C. Eligman, et al., Added therapeutic benefit of top-selling brand-name drugs in

Medicare, 15 JAMA 1283, 1283-89 (2023).
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 publications. 27 Much of the present pharmaceutical research-and-development spending is

 devoted to line extensions; indeed, a study of all FDA approvals of brand name products from 2011–

 2021 found that only 36% of companies’ expenditures were related to new products, with all other

 spending focused on extensions of existing drug franchises.28 The rules and structure of the market

 incentivize this kind of prioritization. The pharmaceutical-market structure focuses attention on

 those drugs for which profits are highest, with little consideration of their added value or innovative

 quality. This allows companies to invest in offshoots of drugs that they already know to be

 profitable, fend off regulation with disincentive defenses, and market themselves as innovators.29

II.   The Negotiation Program’s legislatively-mandated structure is a fair
      process and is not unique to the Medicare market.

        The hallmarks of a fair negotiation process include communication between parties,

 differences in interests, and alternatives to negotiation.30 All of these hallmarks are present in the

 Negotiation Program established by the Inflation Reduction Act. There are various channels of

 communication available to the two parties, a clear difference in interests, and a number of

 alternatives or off-ramps if companies choose not to negotiate.

        The Negotiation Program, which proposes a statutory limit on prices and conducts

 negotiation within those limits, mimics the negotiation process employed by the federal

 government in several areas. One of these areas is the purchase of prescription drugs by federal


        27 Dennis Byrski, et al., Market Size & Research: Evidence from the Pharmaceutical Industry 2

 (Planck Inst. Rsch. Paper No. 21-16, May 2021).
         28 Richard G. Frank & Kathleen Hannick, 5 things to understand about pharmaceutical R&D,

 Brookings (June 2, 2022).
         29 Increased competition and availability of generic drugs could be the answer. A review of

 pharmaceutical manufacturers with at least one FDA-approved product from 1985–2001 found
 that the most important predictor of new product introductions was the loss of exclusivity
 protection on a current product. See Stuart J.H. Graham & Matthew John Higgins, The Impact of
 Patenting on New Product Introductions in the Pharmaceutical Industry 29 (April 4, 2007).
         30 Roger Fisher & William Ury, Getting to Yes: Negotiating Agreement Without Giving In 20-84

 (2d ed. 1991).
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agencies like the Departments of Defense and Veterans Affairs. These agencies purchase

prescription drugs under the Federal Supply Schedule and the Federal Ceiling Price program, both

of which establish prices available to agencies that purchase drugs directly from pharmaceutical

companies. 31 The prices paid by agencies are set “through a combination of statutory rules,

“negotiation,” and “statutory caps,” not unlike the process outlined in the Negotiation Program.32

Prices sets by the Federal Supply Schedule and Federal Ceiling Price program are up to 40% lower

than those paid by the federal government under Medicare Part D.33 Manufacturers offer agencies

like the Department of Defense, Department of Veterans Affairs, Bureau of Prisons, and state

Medicaid entities additional concessions through negotiation. Those agencies pay prices that

average between 31–59% less than the Federal Supply and Federal Ceiling rates, an effective 75%

discount on the rates charged to Medicare.34 Statutory rebate requirements like that those found

in the federal Medicaid statute further lower overall cost for state Medicaid programs, which pay

38% less for prescription drugs than the Department of Veterans Affairs.35 If these provisions and

negotiation programs were disallowed, the federal government’s expenditures for prescription

drugs—for the Department of Defense, Department of Veterans Affairs, and Medicaid alone—

would increase by tens of billions each year.

        Concerns that the negotiation process is unfair because of low price caps are unfounded.

The Inflation Reduction Act sets statutory discounts based on list prices (what companies choose



        31 Cong. Budget Off., A Comparison of Brand-Name Drug Prices Among Selected Federal Programs

1-2 (2021).
        32 Id.
        33 Id.
        34 See id.; Cong. Budget Off., Prices for Brand-Name Drugs Under Selected Federal Programs

(2005); Office of the Inspector General, Review of the Federal Bureau of Prisons’ Pharmaceutical Drug
Costs & Procurement 26-27 (2020).
        35 Chris Park, Medicaid Coverage of Monoclonal Antibodies Directed Against Amyloid for the

Treatment of Alzheimer’s Disease (Sept. 15, 2022), https://perma.cc/9M74-REFH.
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 to charge for the drug) instead of transaction prices (the price actually charged after rebates and

 discounts). A drug’s list price often exceeds its transaction price. For example, the manufacturers

 of Imbruvica, a type of targeted cancer drug, reported a list price almost 10% higher than its

 transaction price. 36 While price caps may slightly lower the substantial profit margin of some

 branded drugs, they do not come close to requiring companies to sell those drugs at a loss.

        Furthermore, the Negotiation Program only applies to a small set of drugs sold in the

 United States, leaving most of industry’s revenue entirely unaffected. The drugs selected for

 negotiation will have already recovered their initial investment many times over—they are

 products that have been on the market for at least 9–13 years and generated a revenue surplus

 ranging from $14–80 billion. Infra at 12. Incentives for the invention of such drugs are clearly not at

 risk from the Negotiation Program. The fact that these methods of negotiation have been employed

 in drug markets outside of Medicare for decades without complaint from the industry or any

 decline in supply should be dispositive.

III.   The Inflation Reduction Act restores bargaining equity between
       manufacturers and consumers while protecting innovation.

       The Inflation Reduction Act counters the imbalanced market by permitting the Department

 of Health and Human Services to select drugs for price negotiation under Medicare. Opponents

 argue that the provisions decrease incentives for research and development. But the Inflation

 Reduction Act includes several safeguards to make a significant reduction in innovation unlikely.

       For starters, the Inflation Reduction Act limits the drugs that can be considered for price

 negotiation. To be considered, a product must be a single-source drug that has been on the market




        36 Inmaculada Hernandez et al., Estimated discounts generated by Medicare drug negotiation in

 2026, 29 J. Managed Care 868, 871 (2023).
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for at least 9–11 years (depending on whether it is a biological or small-molecule drug).37 This by no

means limits the companies’ ability to cover their research-and-development costs and earn a

healthy rate of return on their investment. In fact, recent data on the earnings of all ten drugs

selected for negotiation by the federal government under the Inflation Reduction Act shows that

every single drug has recouped its initial research-and-development costs (including the cost of

failed iterations) and generated a surplus revenue of at least $13.7 billion since its launch.38 The

Inflation Reduction Act’s provisions neither cut the company off from future profits nor shorten

the time that it retains exclusivity. Far from the “nuclear winter for innovation” prophesied by

pharmaceutical companies, the Act will at a maximum result in a “small chill in their profit

margins.”39 The Act also exempts several categories of drugs from the Negotiation Program. The

excluded categories include (1) drugs for a single rare disease that might take longer to recuperate

initial investment; (2) drugs soon to be subject to biosimilar competition, since the lower price for

the negotiated drug will provide an advantage relative to generic competitors and thus deter their

entry into the market; (3) drugs from small biotech firms, where those drugs bring in over 80% of

the company’s Medicare revenue; and (4) plasma-related products, because their prices reflect

fluctuating costs (as opposed to up-front research-and-development investment).40

      In addition to protecting certain new drugs through exclusion, the Inflation Reduction Act

leaves in place important opportunities that promote innovation and increase revenues for large

and small pharmaceutical companies. It includes no restrictions on launch prices. Further, it adds



        37 Meena Seshamani, Ctr. for Medicare & Medicaid Servs., Medicare Drug Price Negotiation

Program: Revised Guidance, Implementation of Sections 1191-1198 of the Social Security Act for Initial Price
Applicability Year 2026 13 (June 30, 2023).
          38 Frank & Rowley, Much money to be made from developing drugs that will have negotiated prices.
          39 Id.
          40 Rachel Sachs, Richard G. Frank, et al., A holistic view of innovation incentives and pharmaceutical

policy reform, 1 Health Affs. Scholar 1, 2 (2023).
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provisions that increase demand for drugs and generate new revenues for the industry. Specifically,

its cap on out-of-pocket costs for high-cost products—particularly those like insulin—will increase

adherence to treatment regimens and likely boost sales. The Act goes one step further for vaccines,

eliminating out-of-pocket costs entirely. It also doubles the research-and-development tax credit

for small businesses and expands the conditions under which it can be used, which is especially

important for innovation since emerging biopharma companies produced two-thirds of all new

drugs in 2022. 41 Finally, alongside the Inflation Reduction Act are whole government

biotechnology innovation initiatives like ARPA-H, which funds cutting-edge medical research.42

     The prescription-drug market has favored manufacturer profits for decades. For this reason,

Congress has regularly stepped in to mandate lower prices for government buyers. Each of those

changes was resisted by industry because shareholders do not wish to diminish their profit. Those

objections are understandable. What is not understandable is the contention that the U.S. drug

market is not a highly regulated environment in which many aspects of a firm’s business are

dictated by regulations and consumer interests. Instead of ignoring this environment, the Inflation

Reduction Act works within the confines of this highly regulated market to preserve incentives for

valuable innovation while protecting consumers from a market-wide overinflation of drug prices.

                                             CONCLUSION

     This Court should grant the defendants’ cross-motion for summary judgment.

                                                   Respectfully submitted,

                                                   /s/ Christine M. Mackintosh
                                                   CHRISTINE M. MACKINTOSH (#5085)
                                                   GRANT & EISENHOFER P.A.
                                                   123 Justison Street
                                                   7th Floor
                                                   Wilmington, DE 19801

       41 IQVIA, Global Trends in R&D 2023: Activity, Productivity, and Enablers (Feb. 15, 2023).
       42 Sachs, A holistic view of innovation incentives and pharmaceutical policy reform, at 2.


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                                     (302) 622-7081
                                    cmackintosh@gelaw.com

                                    DEEPAK GUPTA
                                    GUPTA WESSLER LLP
                                    2001 K Street, NW, Suite 850 North
                                    Washington, DC 20006
                                    (202) 888-1741
                                    deepak@guptawessler.com

November 8, 2023                    Counsel for Amici Curiae




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 8, 2023, I electronically filed this foregoing through this

Court’s CM/ECF system. I understand that notice of this filing will be sent to all parties by

operation of the Court’s electronic filing system.

                                              /s/ Christine M. Mackintosh
                                              Christine M. Mackintosh (#5085)
